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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHAPTER 4 CORP.,
                                                     Case No. 20-cv-02876
               Plaintiff,
                                                     Judge Robert M. Dow, Jr.
v.
                                                     Magistrate Judge Jeffrey T. Gilbert
WOMENTOPACCESSORIES.XYZ, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Chapter 4 Corp.

(“Plaintiff”) hereby dismisses this action with prejudice as to the following Defendants:

                Defendant Name                                         Line No.
                     Zhao Inc                                             67
                    hqtn_store                                            74
                     nywybest                                             79
               prettydollydream_st                                        81

Dated this 31st day of July 2020.            Respectfully submitted,

                                             /s/ Allyson M. Martin
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Allyson M. Martin
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080
                                             312.360.9315 (facsimile)
                                             aziegler@gbc.law
                                             jgaudio@gbc.law
                                             amartin@gbc.law

                                             Counsel for Plaintiff Chapter 4 Corp.
